                                UNITED STATES DISTRICT COURT

                                                FOR THE

                               EASTERN DISTRICT OF TENNESSEE




UNITED STATES OF AMERICA                              )
                                                      )
        vs.                                           )       DOCKET NUMBER: 2:08-CR-58-011
                                                      )
Jessica Baumgardner                                   )


                                          ORDER OF COURT


       On July 21, 2009, the above-named offender was sentenced to a term of 60 months imprisonment,
followed by four (4) years supervised release. The offender has complied with the rules and regulations of
supervision and has achieved all supervision objectives. Accordingly, it is hereby ordered that the defendant
be discharged from supervision.


       Dated this /{,-11 day of      {ld-; ,2014.




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